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                               United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

      UNITED STATES OF AMERICA                         §
                                                       §
      v.
                                                       § CRIMINAL NO. 4:16-CR-84-ALM-KPJ
                                                       §
      KENDRICK ALLEN ROBERSON                          §

                      MEMORANDUM ADOPTING REPORT AND
               RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

            Came on for consideration the report of the United States Magistrate Judge in this action,

     this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

     On November 1, 2021, the Magistrate Judge entered proposed findings of fact and

     recommendations (Dkt. #65) that Defendant be committed to the custody of the Bureau of Prisons

     to be imprisoned for a term of twenty-one (21) months with no term of supervised release to follow.

            Having received the Report of the United States Magistrate Judge and having received

     Defendant’s waiver of his right to object to the proposed findings and recommendations of the

     Magistrate Judge (Dkt. #64), the Court is of the opinion that the findings and conclusions of the

     Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and
.
     conclusions of the Court. Accordingly, Defendant is hereby committed to the custody of the

     Bureau of Prisons to be imprisoned for a term of twenty-one (21) months with no term of

     supervised release to follow.

           SIGNED this 10th day of November, 2021.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
